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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK

      IN RE PAYMENT CARD INTERCHANGE                          No. 05-md-01720 (MKB) (VMS)
      FEE AND MERCHANT DISCOUNT
      ANTITRUST LITIGATION                                    PLAINTIFFS’ STIPULATION AND
                                                              ORDER OF DISMISSAL WITH
      This Document Relates to:                               PREJUDICE OF ALL CLAIMS
                                                              AGAINST THE VISA DEFENDANTS
      The Home Depot, Inc., et al. v. Visa Inc., et
      al., No. 16-cv-05507 (E.D.N.Y.) (MKB)
      (VMS).



           WHEREAS plaintiffs The Home Depot, Inc. and Home Depot U.S.A., Inc. (“Plaintiffs”),

    which are all of the plaintiffs in the action The Home Depot, Inc., et al. v. Visa Inc., et al., No.

    16-cv-05507 (E.D.N.Y.) (“The Home Depot Action”), which action is included in In re Payment

    Card Interchange Fee and Merchant Discount Antitrust Litigation, No. 1:05-md-01720

    (E.D.N.Y.), having fully settled all of their claims against some of the defendants in The Home

    Depot Action –– i.e., Visa Inc., Visa U.S.A. Inc., and Visa International Service Association

    (collectively, the “Visa Defendants”) –– by and through their undersigned counsel, hereby

    stipulate and agree, pursuant to Federal Rule of Civil Procedure 41(a), that the Plaintiffs’ claims

    and action against the Visa Defendants be dismissed with prejudice, and with each side to bear

    its own attorneys’ fees and costs, provided that the Court retains continuing and exclusive

    jurisdiction to resolve any matter arising out of or relating to the parties’ settlement agreement or

    this Stipulation and Order of Dismissal, or their applicability to any suit, action, proceeding, or

    dispute.

           Accordingly, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that (1) the

    Court will retain continuing and exclusive jurisdiction to resolve any matter arising out of or

    relating to the parties’ settlement agreement or this Stipulation and Order of Dismissal, or their



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    applicability to any suit, action, proceeding, or dispute, and (2) the claims and action of the

    Plaintiffs against the Visa Defendants be and hereby are dismissed with prejudice, with each side

    to bear its own attorneys’ fees and costs.

            April 13
    Dated: _______________, 2023.
                                                      QUINN EMANUEL URQUHART &
                                                      SULLIVAN, LLP


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